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                              U.S. Department of Justice
                                                                                          Telephone 608/264-5158
                                                                                               TTY 608/264-5006

                              United States Attorney’s Office              Administrative Facsimile 608/264-5183
                                                                            Civil Division Facsimile 608/264-5724
                              Western District of Wisconsin             Criminal Division Facsimile 608/264-5054

 Address:
 222 West Washington Avenue
 Suite 700
 Madison, Wisconsin 53703

                                           July 20, 2021

Christopher T. Van Wagner
110 E. Main Street
Suite 705
Madison, Wisconsin 53703

        Re:       United States v. Brett Blomme
                  Case No. 21-cr-49-jdp

Dear Attorney Van Wagner:

      This is the proposed plea agreement between the defendant, the United States,
and the State of Wisconsin.

       1.      The defendant agrees to plead guilty to the indictment in this case.
Counts 1 and 2 of the indictment charge violations of Title 18, United States Code,
Section 2252(a)(2). Each count carries a mandatory minimum sentence of five years in
prison and five years of supervised release, as well as maximum penalties of 20 years in
prison, a $250,000 fine, a lifetime period of supervised release, a $5,000 assessment
pursuant to 18 U.S.C. § 3014(a) (if the Court finds the defendant is not indigent), a
mandatory $100 special assessment, and the entry of an appropriate restitution order
pursuant to 18 U.S.C. § 2259(b)(2)(B). In addition to these maximum penalties, any
violation of a supervised release term could lead to an additional term of imprisonment
pursuant to 18 U.S.C. § 3583. The defendant agrees to pay the special assessment at or
before sentencing. The defendant understands that the Court will enter an order
pursuant to 18 U.S.C. § 3013 requiring the immediate payment of the special
assessment. In an appropriate case, the defendant could be held in contempt of court
and receive an additional sentence for failing to pay the special assessment as ordered
by the Court.

       2.     The defendant acknowledges, by pleading guilty, that he is giving up the
following rights: (a) to plead not guilty and to persist in that plea; (b) to a jury trial; (c)
to be represented by counsel--and if necessary have the Court appoint counsel--at trial
and at every other stage of the trial proceedings; (d) to confront and cross-examine
adverse witnesses; (e) to be protected from compelled self-incrimination; (f) to testify
and present evidence; and (g) to compel the attendance of witnesses.
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       3.      The defendant understands that upon conviction, if he is not a United
States citizen, he may be removed from the United States, denied citizenship, and
denied future admission to the United States. The defendant nevertheless affirms he
wants to plead guilty regardless of any removal and immigration consequences that his
plea may entail, even if the consequence is automatic removal from the United States.

        4.    The United States agrees to recommend that the Court, in computing the
advisory Sentencing Guideline range, and in sentencing the defendant, give the
defendant the maximum available reduction for acceptance of responsibility. This
recommendation is based upon facts currently known to the United States and is
contingent upon the defendant accepting responsibility according to the factors set forth
in USSG § 3E1.1. Further, the United States’ agreement to recommend a reduction for
acceptance of responsibility is also based on the defendant providing a full and truthful
accounting in the required financial statement, and the defendant’s efforts to make the
agreed-upon immediate restitution payments. The United States is free to withdraw
this recommendation if the defendant has previously engaged in any conduct which is
unknown to the United States and is inconsistent with acceptance of responsibility, or if
he engages in any conduct between the date of this plea agreement and the sentencing
hearing which is inconsistent with acceptance of responsibility. This recommendation
is contingent on the defendant signing this plea letter on or before August 2, 2021.

        5.     The United States agrees that these two guilty pleas will completely
resolve all possible federal and state criminal violations that have occurred in the
Western District of Wisconsin provided that both of the following conditions are met:
(a) the criminal conduct relates to the conduct described in the indictment; and (b) the
criminal conduct was known to the United States and the State of Wisconsin as of the
date of this plea agreement. The defendant understands and agrees that if he ever
successfully moves to vacate his guilty pleas in this case, he would have thereby
breached this plea agreement with the United States and the State of Wisconsin, and he
would thereby allow both the United States and the State of Wisconsin to pursue any
and all criminal charges otherwise encompassed by this plea agreement, and he would
also be knowingly waiving any statute of limitations protections and defenses against
those same charges which would otherwise be available to him, and at that time both
the United States and the State of Wisconsin would be free to file any charges otherwise
encompassed by this agreement. The defendant also understands that the United States
will make its full discovery file available to the Probation Office for its use in preparing
the presentence report.

       6.     The defendant understands that restitution in this case is governed by 18
U.S.C. ' 2259. The defendant agrees to pay restitution for all losses relating to the
offense of conviction and all losses covered by the same course of conduct or common
scheme or plan as the offense of conviction. The exact restitution figure will be agreed
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upon by the parties prior to sentencing or, if the parties are unable to agree upon a
specific figure, restitution will be determined by the Court at sentencing. The
defendant further agrees that the full amount of restitution is due and payable
immediately. Defendant acknowledges that immediate payment means payment in
good faith from the liquidation of all non-exempt assets beginning immediately.

       7.     The parties agree that the victims of state crimes, both charged and
uncharged, related to the defendant’s conduct in this case are “victims” under 18 U.S.C.
§ 3771 and are entitled to the same rights as victims of the federal offenses, including, as
noted above, the right to restitution and the right to be heard at sentencing. The parties
further agree, pursuant to USSG § 1B1.2(c), that defendant’s acts relating to these
persons are relevant conduct for sentencing purposes.

        8.     The defendant agrees to complete the enclosed financial statement and
return it to this office within one week of the guilty plea hearing. The defendant agrees
that this financial statement will be a full and truthful accounting, including all
available supporting documentation. The defendant also authorizes the U.S. Attorney’s
Office to run the defendant’s credit report. The defendant also agrees that the probation
office may disclose to the United States the net worth and cash flow statements to be
completed by the defendant in connection with the preparation of the presentence
report, together with all supporting documents. Finally, the defendant understands, as
set forth in Paragraph 4 above, that the United States’ agreement to recommend a
reduction for acceptance of responsibility will be based, in part, on the defendant’s full
and truthful accounting, and efforts to make the agreed-upon immediate restitution
payments.

       9.      The defendant agrees not to file a claim to the asset listed in the forfeiture
allegation in the indictment. This asset is described as a gray Apple iPhone with a
yellow protective cover, serial number F17CDZABN6XR. The defendant agrees to
waive all time limits and his right to notice of any forfeiture proceeding involving this
property. The defendant further agrees not to file a claim or assist others in filing a
claim or attempting to establish an interest in any forfeiture proceeding.

       10.    The defendant acknowledges that he used the Apple iPhone listed in
indictment’s forfeiture allegation to distribute sexually explicit images of children on
Kik Messenger, as described in Counts 1 and 2 of the indictment.

       11.   The defendant agrees he is the sole owner of the property discussed
above, and agrees to hold the United States, its agents, and employees harmless from
any claims connected to the seizure or forfeiture of property covered by this agreement.

       12.      The defendant agrees to consent to the order of forfeiture for the property
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listed in the forfeiture allegation of the indictment and waives the requirement of
Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice of the forfeiture in
the charging instrument, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment. The defendant acknowledges that he
understands the forfeiture of assets is part of the sentence that may be imposed.

        13.    The defendant knowingly and voluntarily waives his right to a jury trial
on the forfeiture of assets. Defendant knowingly and voluntarily waives all
constitutional, legal, and equitable defenses to the forfeiture of these assets in any
proceeding. The defendant agrees to waive any jeopardy defense or claim of double
jeopardy, whether constitutional or statutory, and agrees to waive any claim or defense
under the Eighth Amendment to the U.S. Constitution, including any claim of excessive
fine, to the forfeiture of assets by the United States, the State of Wisconsin, or its
subdivisions.

       14.     The defendant agrees to take all steps requested by the United States to
pass clear title to forfeitable assets to the United States, and to testify truthfully in any
judicial forfeiture proceeding. The defendant acknowledges that all property covered
by this agreement is subject to forfeiture as property facilitating illegal conduct or
property involved in illegal conduct giving rise to forfeiture.

       15.    In the event any federal, state, or local law enforcement agency having
custody of the property decides not to pursue forfeiture of the property due to its
minimal value, the defendant hereby abandons any interest he has in the property and
consents to the destruction or any other disposition of the property by the federal, state,
or local agency without further notice or obligation owing to the defendant.

       16.   In the event of an appeal by either party, the United States reserves the
right to make arguments in support of or in opposition to the sentence imposed.

       17.   The defendant understands that sentencing discussions are not part of the
plea agreement. The defendant should not rely upon the possibility of a particular
sentence based upon any sentencing discussions between defense counsel and the
United States.

        18.   If your understanding of our agreement conforms with mine as set out
above, would you and the defendant please sign this letter and return it to me. By his
signature below, the defendant acknowledges his understanding that neither the United
States, nor the State of Wisconsin have made any promises or guarantees regarding the
sentence which will be imposed. The defendant also acknowledges his understanding
that the Court is not required to accept any recommendations which may be made by
the United States and that the Court can impose any sentence up to and including the
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8/4/2021
